HG wim Buiddiys 10) noA yuey,
SvES-SZZ~008-L [129 10 Woo'esn-|yp'MMM 0} O6 aseaid ‘Bupjoes{ Jo4

 

oul] ajeq aynoy (jeuondo) einyeubls THG
VSEOnevex Poy 0} [Ila
YAQNAS  -O]L JUEWAIYS IIIg
LSbe-cer-0S8 sauoud
BaDoW piAeg ‘Ag juag
pledun sexe] pue saing 19AG jelsads
LSvZzZe voce ‘eu0Ud
90000-A9-6 |, URI] “A Iyeued yeu dys pewLueyoY) '0| uojUuayYy
LX 2°OLXGL ‘SUOISUBLUIG GO 1qQNdey o1Wels}) URL]
g10'e :(sql) 1YBlon, NVUI ‘Yaya
asnl  :enjea swojsno JeaNg SUCHEN paylun

sjugunoog [ebe7
00°0 SN UOND}O1_ Jessy
e9'Z8L$

‘uoyduoseg
U0]98}014
reyBUSY sey

anuaay JusWOYYy Wey

Suey UBIAJOI jo ASU;

ued| jo ayGndey o1We|s]
(Auedwiod) o1

9PlZ ZEZL 8S # TIIGAVM
1idl394uy SYAQNAS

“POPIOA SI JUBLUCIYS BU) SS@JUN PadlOAU! oq JIM SIIIGABM pay
aBseys Bulddiys jeuonippe ul yjnseu |jIM pue aBeyoed INOA Jo Araayep ayy Aejep pinoo Adosojoud e Buisp)

AdOQVOLOHd LON OG

 

Hey UL yND 40 Pjo} asea|q

 

 

=m ee,

 

DOX

 

 

EXPRESS WORLDWIDE

DHL Online

 

Origin:
JAX

David McGee Phone: 850-432-2451
501 COMMENDENCIA ST
PENSACOLA FL 32502

From: BEGGS & LANE RLLP
United States

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

To —
eee =
BES «s
833 : ,
28 a ic
o
E
a
ud
5°
Ee
oS
Ay —_—_———— nd
©) z SS —
1 ——————
> 28 ———<<<— a
Y/Y ae SSS —_—_—_—_
———— eT
——_—_—_ SS SSH
I + Ss
z ——————SSS=_ = —_—_—_—_—_—————
© ’ EE  o—eEeEe—————————
S N
oO —— ae
i —_—_—_—_—_‘ —_—_—=
L 2a Ss SSS SSS
I er BN
a eS —————— _ — ee
=o o i _—— _——
TS ———— aS
ca S g $F S—SSSSSSSa——*
© c_ — —— ©
=< oo 2/);_ ‘2 LLL SS-¥E
se 2 3 ee SS SSS SS
oO Bt es a. a _ ee EE ee
oQPLIAZ o ce es () Oy ee
Ae GSudte 6 ——_—_——————— 9—o0985= =e
- a
2uE oH " ——— == o=@qe="s=-§-_—"'
Qs 2% ~& £ ————— 6
x? eS ie —_—_____=[ — SSSSS=_=___?.
of CH = SS ————E——— 3 EEE >
egeEReES ta — 3]
E 2 GQeHc 8 ee
REEcoOG i SS  ~— 7
2S¢5F5 EB ——————— N
——— at
5 8 ——<<——
[Ee _ Hy

 

 

 

 

 

 

 

} Fev © ~ ABS
